













NUMBER 13-07-00715-CV



COURT OF APPEALS



THIRTEENTH DISTRICT OF TEXAS



CORPUS CHRISTI - EDINBURG 





	

JAHAZIEL RIOS, 	Appellant,


v.



STATE FARM MUTUAL 

AUTOMOBILE INSURANCE COMPANY,	Appellee. 

	




On appeal from the County Court at Law No. 2 


of Hidalgo County, Texas.






MEMORANDUM OPINION


	

Before Justices Yañez, Rodriguez, and Garza


Memorandum Opinion Per Curiam


	Appellant, Jahaziel Rios, attempts to appeal an order vacating an order granting a
new trial in his favor.  Currently pending before the Court is a motion filed by appellee,
State Farm Mutual Automobile Insurance Company, to dismiss this appeal for lack of
jurisdiction.  Appellee contends that appellant should have appealed the final judgment in
this cause and cannot appeal an order vacating a grant of a new trial.  In contrast,
appellant asserts that the trial court's order vacating the motion for new trial was error.  We
grant appellee's motion and dismiss the appeal for lack of jurisdiction.  

Background


	On March 30, 2007, the trial court signed a "take nothing" judgment in favor of
appellee.  On April 13, 2007, the trial court signed a second "take nothing" judgment.  This
second judgment is identical to the first judgment, except that the second judgment
includes signatures by counsel of record for the parties indicating that the judgment is
"approved as to form only."  Appellant timely filed a motion for new trial.  

	On July 18, 2007, the trial court signed an order granting the motion for new trial "in
the interest of justice and fairness."  Appellee moved to vacate that order on grounds that
the trial court's plenary plower had expired prior to that date.  The trial court agreed, and
on October 29, 2007, vacated the order granting the new trial for lack of jurisdiction.  This
appeal ensued.  

	On appeal, appellee contends that an order vacating a grant of a new trial is not a
final judgment subject to appeal and appellant was required to appeal the final judgment
in this matter.  According to appellee, regardless of which judgment controls the appellate
deadlines, appellant's notice of appeal was not timely filed.  Appellee thus asserts that this
appeal should be dismissed for want of jurisdiction.  In contrast, appellant asserts that the
second judgment reset the appellate timetables and the order vacating the order granting
a new trial based on "want of jurisdiction" was in error.

  

The Second Judgment


	A change in a judgment "in any respect" is all Rule 329b(h) requires to reset the
appellate timetable.  Tex. R. Civ. P. 329b(h); see Naaman v. Grider, 126 S.W.3d 73, 74
(Tex. 2003); Lane Bank Equip. Co. v. Smith S. Equip., Inc., 10 S.W.3d 308, 310 (Tex.
2000); Check v. Mitchell, 758 S.W.2d 755, 755-56 (Tex. 1988).  In the instant case, the
second judgment includes the notation that the judgment is "approved as to form only" and
is signed by counsel of record.  Accordingly, we calculate the deadlines from the second
judgment, which was signed on April 13, 2007.  

	If not determined by written order signed within seventy-five days after the judgment
is signed, a motion for new trial is overruled by operation of law on the expiration of that
period.  Tex. R. Civ. P. 329b(c).  Accordingly, appellant's motion for new trial was overruled
by operation of law on June 28, 2007.  Because appellant timely filed a motion for new trial,
the trial court had plenary power to grant a new trial or to vacate, modify, correct, or reform
the judgment until thirty days after the motion for new trial was overruled, either by a written
and signed order or by operation of law, whichever occurred first.  See Tex. R. Civ. P.
392b(e).  Accordingly, the trial court's plenary power extended until July 30, 2007.  See
Tex. R. Civ. P. 4; Tex. R. App. P. 4.1(a).  The trial court's order granting a new trial, signed
on July 18, was issued within the trial court's plenary jurisdiction.

Order Vacating New Trial


	The trial court entered its order granting a new trial within the period of its plenary
power.  However, the trial court's order vacating the order granting a new trial was not
entered until October 29, 2007, more than six months after the entry of judgment in this
matter.  A trial court may not vacate an order granting a new trial outside the court's period
of plenary power over the original judgment.  Porter v. Vick, 888 S.W.2d 789, 789-90 (Tex.
1994) (per curiam); In re Steiger, 55 S.W.3d 168, 170-71 (Tex. App.-Corpus Christi 2001,
orig. proceeding).  An order vacating the order granting a new trial that is signed after the
plenary power period has expired is "void."  Porter, 888 S.W.2d at 789.  

	We hold that the trial court's October 29, 2007 order is a void order that purports to
"ungrant" a previously granted new trial.  Because that order is void, the trial court's last
effective order is its July 18, 2007 order granting appellant's motion for new trial "in the
interest of justice and fairness," which is not appealable.  See Wilkins v. Methodist Health
Care Sys., 160 S.W.3d 559, 563 (Tex. 2005) ("Except in very limited circumstances, an
order granting a motion for new trial rendered within the period of the trial court's plenary
power is not reviewable on appeal.").  

	Accordingly, the appeal is hereby DISMISSED FOR WANT OF JURISDICTION. 
See Tex. R. App. P. 42.3(a).  Appellee's motion for extension of time to file its brief in this
matter is DISMISSED AS MOOT.

							PER CURIAM

Memorandum Opinion delivered 

and filed this the 27th day of March, 2008. 

			




	


